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 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
 3

 4
                                                        No.    CR-13-2109-FVS-1
 5
     UNITED STATES OF AMERICA,                                 CR-13-2109-FVS-2
                                                               CR-13-2109-FVS-3
 6
                       Plaintiff,                              CR-13-2109-FVS-5
                                                               CR-13-2109-FVS-6
 7
                 v.
 8
                                                        ORDER DENYING "MOTION TO
                                                        DISMISS FOR LACK OF
 9
     RUBEN M. TRUJILLO, RICHARD                         JURISDICTION”
     GONZALEZ, SERGIO MEZA-MEDINA,
10
     DANIEL MIMS, and RENE RODRIGUEZ,

11
                       Defendants.
12

13
          RUBEN M. TRUJILLO moves to dismiss the Superseding Indictment on
14
     the ground the United States lacks authority to prohibit the medical
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     use of marijuana in the State of Washington.
16
          BACKGROUND
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          Ruben Trujillo argues he was entitled to cultivate marijuana
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     pursuant to the terms of the Washington State Medical Use of Cannabis
19
     Act (“MUCA”), chapter RCW 69.51A.          He further insists he was complying
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     with the state MUCA’s requirements.           Believing, as he does, he was in
21
     compliance with state law, he argues he is not subject to prosecution
22

23
     under the Controlled Substances Act (“CSA”), 21 U.S.C. § 801 et seq.

24   First, he claims the CSA does not preempt the state MUCA.                 Second, he

25   claims the CSA does not regulate the medicinal use of marijuana.

26   Third, he claims the CSA should not be interpreted to prohibit a


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 1   medical treatment that has been approved by one of the States.
 2           RULING
 3           1. The Controlled Substances Act Regulates All Uses of Marijuana
 4           Each CSA-regulated substance is placed in one of five schedules.
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     Congress placed marijuana in Schedule I.            21 U.S.C. § 812(c)(10).
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     This decision reflected Congress' determination "marijuana has 'no
 7
     currently accepted medical use' at all."            United States v. Oakland
 8
     Cannabis Buyers' Co-op., 532 U.S. 483, 491, 121 S.Ct. 1711, 149
 9
     L.Ed.2d 722 (2001) (hereinafter "OCBC II") (quoting 21 U.S.C. § 812).
10
     Mr. Trujillo disagrees with Congress' negative assessment of
11
     marijuana.       Contrary to Congress, he thinks marijuana has important
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     medical uses.      Many people agree with him, but their opinions, however
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     sincere, do not change the law.         “Unlike drugs in other schedules, . .
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     . schedule I drugs cannot be dispensed under a prescription.”                 OCBC
15
     II, 532 U.S. at 492 n.5, 121 S.Ct. 1711.            The Supreme Court reiterated
16
     this point in Gonzales v. Raich, 545 U.S. 1, 125 S.Ct. 2195, 162
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18
     L.Ed.2d 1 (2005) (hereinafter “Raich I”).            “By classifying marijuana

19   as a Schedule I drug,” said the Supreme Court, “the manufacture,

20   distribution, or possession of marijuana became a criminal offense,

21   with the sole exception being use of the drug as part of a Food and

22   Drug Administration preapproved research study.”              Id. at 14, 125 S.Ct.

23   2195.    Clearly, then, the CSA regulates all uses of marijuana.
24           2. OCBC II and Raich I Are Still Good Law
25           In OCBC II, the Supreme Court held “medical necessity is not a
26   defense to manufacturing and distributing marijuana.”               532 U.S. at


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 1   494, 121 S.Ct. 1711.      In Raich I, the Supreme Court held Congress did
 2   not exceed its authority under the Commerce Clause by categorically
 3   prohibiting the manufacture and possession of marijuana, including
 4   “the intrastate manufacture and possession of marijuana for medical
 5
     purposes.”   545 U.S. at 15, 125 S.Ct. 2195.             Mr. Trujillo maintains
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     OCBC II and Raich I have been qualified by Gonzales v. Oregon, 546
 7
     U.S. 243, 248, 275, 126 S.Ct. 904, 163 L.Ed.2d 748 (2006).                There, the
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     Supreme Court held the CSA does not allow “the United States Attorney
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     General to prohibit doctors from prescribing regulated drugs for use
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     in physician-assisted suicide, notwithstanding a state law permitting
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     the procedure.”    Mr. Trujillo insists the United States Attorney’s
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     decision to seek his indictment is analogous to the Attorney General’s
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     decision to prohibit doctors from prescribing regulated drugs for
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     physician-assisted suicide.       In both instances, says Mr. Trujillo, an
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     official in the Executive Branch is improperly interfering with the
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     determination of the people of a State regarding the proper practice
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18
     of medicine.

19        The holding in Gonzales v. Oregon was based, in part, upon

20   considerations of federalism.       The States, observed the Supreme Court,

21   enjoy "great latitude under their police powers to legislate as to the

22   protection of the lives, limbs, health, comfort, and quiet of all

23   persons."    546 U.S. at 270, 126 S.Ct. 904 (internal punctuation and
24   citations omitted).       The Supreme Court was reluctant to authorize the
25   Executive Branch to interfere with the States' traditional authority
26   to regulate the practice of medicine unless the CSA clearly conferred


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 1   such authority.    After examining the text and structure of the CSA,
 2   the Supreme Court decided the Attorney General had overreached.                   “[W]e
 3   conclude,” said the Supreme Court, that “the CSA's prescription
 4   requirement does not authorize the Attorney General to bar dispensing
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     controlled substances for assisted suicide in the face of a state
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     medical regime permitting such conduct.”            546 U.S. at 270, 126 S.Ct.
 7
     904.   In reaching that conclusion, the Supreme Court distinguished
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     physician-assisted suicide from the use of marijuana for medical
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     purposes.   Congress had made an express determination about marijuana
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     that Congress had not made about physician-assisted suicide.                Unlike
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     the latter, “Congress' express determination that marijuana had no
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     accepted medical use foreclosed any argument about statutory coverage
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     of drugs available by a doctor's prescription.”              546 U.S. at 269, 126
14
     S.Ct. 904 (citing OCBC II, 532 U.S. 483, 121 S.Ct. 1711).
15
            3. 21 U.S.C. § 903
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            Mr. Trujillo distinguishes between the recreational use of
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     marijuana and the medical use of marijuana.              He maintains the CSA

19   regulates the former, but not the latter.            He insists the law of the

20   State of Washington is in accord with the CSA.              As he points out,

21   marijuana is a Schedule I controlled substance under state law.                   See,

22   e.g., State v. Reis, No. 69911-3-I, 2014 WL 1284863, at *2 (March 31,

23   2014).   However, the people of the state have decided that persons who
24   use marijuana for medical purposes may not be prosecuted in state
25   court if they comply with the requirements of the Washington State
26   Medical Use of Cannabis Act.       In Mr. Trujillo’s opinion, state law


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 1   makes the same distinction the CSA makes.            The recreational use of
 2   marijuana is forbidden in most circumstances, while the medical use of
 3   marijuana is permitted in certain circumstances.              That being the case,
 4   says Mr. Trujillo, there is no "positive conflict" between state law
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     and the CSA:    they may "stand together."          21 U.S.C. § 903.1
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          Mr. Trujillo's argument rests upon a number of assumptions, one
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     of which is the CSA does not forbid the use of marijuana for medical
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     purposes.    This assumption is unwarranted.             Contrary to Mr. Trujillo,
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     the CSA forbids the manufacture, distribution, and possession of
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     marijuana.   There is no medical marijuana exception.              See, e.g., Raich
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     I, 545 U.S. at 27, 125 S.Ct. 2195 (“The CSA designates marijuana as
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     contraband for any purpose; in fact, by characterizing marijuana as a
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     Schedule I drug, Congress expressly found that the drug has no
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     acceptable medical uses.”).       Consequently, to the extent the law of
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     the State of Washington authorizes persons in this state to
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     manufacture, distribute, or possess marijuana for medical purposes,
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     state law “cannot consistently stand” with federal law.                21 U.S.C. §

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          1
           Section 903 states:
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21        No provision of this subchapter shall be construed as
          indicating an intent on the part of the Congress to
22        occupy the field in which that provision operates,
23
          including criminal penalties, to the exclusion of any
          State law on the same subject matter which would
24        otherwise be within the authority of the State, unless
          there is a positive conflict between that provision of
25
          this subchapter and that State law so that the two
26        cannot consistently stand together.


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 1   903.   There is a “positive conflict” between federal law and state
 2   law.    Id.   Section 903 affords no protection to Mr. Trujillo.
 3          IT IS HEREBY ORDERED:
 4          Ruben Trujillo's "Motion to Dismiss for Lack of Jurisdiction"
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     (ECF No. 281) is denied.
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            IT IS SO ORDERED.    The District Court Executive is hereby
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     directed to enter this order and furnish copies to counsel.
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            DATED this    25th      day of July, 2014.
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10                              s/ Fred Van Sickle
                                   Fred Van Sickle
11                       Senior United States District Judge

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